Case 23-01335-JKS Doc 84-61 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.115 Page1of1

AIRN Liquidation Trust
Media Effective: Mark-Up Analysis

Actual Illustrative Calculations

Scenario 1

Scenario 3
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Scenario 2

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[Vilar LUPATPAIA ms CT 4 BD VATE TTT RIAT)
Gross Advertising Amount Paid by
A INRIA to Media Effective $26.522.270 $27,702,389 $25,426,741
Total Media Effective Payments to
B Advertisers/Agencies [1] ($23,547,031) ($23,547,031) ($23,547,031)
ces nective igukcUp $12,975,259 $4,155,358 $1,879,710
{A - B]
Media Effective Mark-Up % ° >
D C/A] 36% 15% T%
Excess Actual Payments Received if
E /October 2021 Email Commission $8,819,901 $11,095,549
Terms Were Applied
Notes

[1] Over 94% of the total advertising agency payments identified from the Media Effective bank accounts went to Hybrid Media Services.

[2] In response to NRIA inquiring about Media Effective's "booking fee", Torres stated the following in an October 21, 2021, email: “most of the time
the volume buyers and myself negotiate a commission with the media companies between 5-15% and it is split among the participants." For the
purposes of the illustrative calculation, the 15% mark-up at the higher end of the range was applied solely to Media Effective - not split among the
other participants involved (i.e. Hybrid Media Services).

[3] Consistent with the underlying advertising invoices billed to Hybrid Media Services (received as part of Hybrid's production), the mark-up percentages
in the above illustrative calculations are applied to the gross advertising amount, rather than to the amount paid to the third party advertisers. In the
above illustrative calculations, the gross advertising amounts which would have been billed to NRIA were calculated as: [$23,547,031 / (1 - the
applicable mark-up percentage)].

[4] In a separate October 21, 2021 email from Javier Torres to NRIA, Torres stated: "A good indicator could be about 8% for radio buys and 7% for TV
buys" . Advertising agency invoices to Media Effective (i.e. Hybrid Media) were reviewed and the applicable commission percentages were applied to
the radio (8%) and TV (7%) advertising buys. Two Hybrid Media invoices list "Digital Advertising for National Realty". For these items, the higher
8% mark-up was applied to digital advertising in the above analysis to be conservative.

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EXHIBIT

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